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                    UNITED STATES DISTRICT COURT
                    EASTERN DISTRICT OF MICHIGAN
                         SOUTHERN DIVISION
                            ______________

MARK G. MORAN,

                   Plaintiff,                        Case No.
                                                     Hon.
vs.

McLAREN OAKLAND,
a Michigan nonprofit corporation,

                   Defendant.
                                               /
Carol A. Laughbaum (P41711)
Attorney for Plaintiff
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                                    /

                    COMPLAINT AND JURY DEMAND

      Plaintiff Mark G. Moran, by his attorneys Sterling Attorneys at Law,

P.C., for his Complaint against Defendant, submits the following:

                                Jurisdiction and Parties

      1.     This is an action for age discrimination in violation of the Age

Discrimination in Employment Act, 29 USC 623(a) et seq., arising out of

Plaintiff’s employment relationship with Defendant.

      2.     Plaintiff Mark G. Moran is a resident of Ypsilanti, Michigan

within the Eastern District of Michigan.
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      3.    Defendant     McLaren     Oakland      (“Defendant    McLaren”      or

“Defendant Hospital”) is a Michigan nonprofit corporation that maintains its

principal place of business in Pontiac, Michigan within the Eastern District of

Michigan.

      4.    The events giving rise to this cause of action occurred within the

Eastern District of Michigan.

      5.    This Court has federal question jurisdiction under 28 USC 1331

because this action arises under the laws of the United States.

      6.    Plaintiff timely files this complaint within 90 days of receiving his

EEOC right to sue notice, which he received on November 13, 2020.

                                Background Facts

      7.    Plaintiff Moran was born February 22, 1956; he is 64 years old.

      8.    Plaintiff has been a registered nurse for approximately 40 years.

      9.    Plaintiff Moran was direct hired by Defendant McLaren as a

critical care (ICU) nurse effective May 1, 2017, after successfully working for

Defendant for four years as an ICU contract nurse.

      10.   Throughout his employment, Plaintiff Moran performed his job

duties in a manner that was satisfactory or better.

      11.   In fact, Moran was one of the most highly regarded, highly

respected, and competent RNs at Defendant Hospital, where his expertise was

sought out across various departments.
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         12.   Defendant entrusted Plaintiff Moran to serve as a mentor and train

all new ICU nurses with respect to their job duties, including proper charting

and documentation.

         13.   Plaintiff Moran was named Defendant’s ICU Nurse of the Year

for 2018.

         14.   Plaintiff was one of Defendant’s oldest ICU nurses.

         15.   Effective March 3, 2020, Defendant fired Plaintiff, allegedly due to

trumped up and/or wholly bogus allegations that Plaintiff had engaged in

irregularities regarding administering medications to patients.

                                CAUSE OF ACTION

                             Age Discrimination - ADEA

         16.   Plaintiff incorporates the preceding paragraphs by reference.

         17.   At relevant times, Plaintiff was an employee and Defendant was

his employer as defined by the Age Discrimination in Employment Act, 29

USC 623(a), et seq.

         18.   The ADEA prohibits discrimination on the basis of age.

         19.   Defendant treated younger employees more favorably than

Plaintiff, singling Plaintiff out for negative treatment unlike any of his younger

peers.

         20.   Defendant’s treatment and termination of Plaintiff, were based on

impermissible considerations of Plaintiff’s age.
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      21.    Defendant was predisposed to discriminate on the basis of age and

acted in accordance with that predisposition.

      22.    Defendant’s actions were intentional and engaged in with reckless

disregard for Plaintiff’s rights.

      23.    As a direct and proximate result of Defendant’s wrongful and

discriminatory treatment of Plaintiff, he has suffered injuries and damages,

including but not limited to, loss of past, present and future earnings and

earning capacity; loss of the value of fringe and pension benefits; mental and

emotional distress, including anxiety and mental anguish, humiliation and

embarrassment; and the loss of the ordinary pleasures of everyday life,

including the right to seek and pursue gainful occupation of choice.

                              RELIEF REQUESTED

      For all the above reasons, Plaintiff Mark G. Moran demands judgment

against the Defendant as follows:

      A.     Legal Relief:

             1.     Compensatory damages in whatever amount he is found to
                    be entitled;

             2.     Liquidated/exemplary/punitive damages          in   whatever
                    amount he is found to be entitled;

             3.     A judgment for lost wages and benefits in whatever amount
                    he is found to be entitled;

             4.     An award of interest, costs and reasonable attorney fees; and

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            5.     Whatever other legal relief appears appropriate at the time of
                   final judgment.

      B.    Equitable Relief:

            1.     An injunction out of this Court prohibiting any further acts
                   of wrong-doing;

            2.     An award of interest, costs and reasonable attorney fees; and

            3.     Whatever other equitable relief appears appropriate at the
                   time of final judgment.

                                JURY DEMAND

      Plaintiff Mark G. Moran, by his attorneys Sterling Attorneys at Law,

P.C., hereby demands a trial by jury of all the issues in this cause.

                                Respectfully submitted,

                                STERLING ATTORNEYS AT LAW, P.C.

                                By:   /s/Carol A. Laughbaum
                                      Carol A. Laughbaum (P41711)
                                      Attorney for Plaintiff
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                                      Bloomfield Hills, MI 48304
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Dated: January 25, 2021




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